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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 1:21-cr-00259-TSC
                                              :
MARK K. PONDER,                               :
                                              :
                       Defendant.             :


       The United States of America moves to limit the cross-examination of witnesses with the

Secret Service Agency, pursuant to Fed. R. Evid. 401, 403, and 611(b).

                                       INTRODUCTION

       In Counts Two, Four, and Six of the Indictment, the defendant is charged with obstructing,

impeding, and interfering with, or attempting to obstruct, impede, or interfere with, law

enforcement officers during the breach of the United States Capitol on January 6, 2021, in violation

of 18 U.S.C. § 231(c)(3). Counts Eight through Ten charge the defendant with violating 18 U.S.C.

§ 1752(a)(1), (2), and (4), by knowingly entering or remaining in a restricted building or grounds

without lawful authority; knowingly, and with intent to impede or disrupt the orderly conduct of

Government business and official functions, engaging in disorderly or disruptive conduct in, or

within proximity of, any restricted building or grounds, when such conduct does in fact impede or

disrupt Government business and official functions; and knowingly engaging in any act of physical

violence against any person or property in any restricted building or grounds. That statute defines

“restricted buildings or grounds” to include any building or grounds temporarily visited by a

person being protected by the Secret Service. 18 U.S.C. § 1752(c)(1)(B).

       To meet its burden of proof at trial, the government will call a witness from the United

States Secret Service to testify that at the time of the Capitol breach, Secret Service agents were
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on duty to protect Vice President Mike Pence and his two immediate family members, all of whom

were present at the Capitol. These officials will further testify about the Capitol breach’s effect on

the Secret Service’s protection of Vice President Pence and his family members.

       However, the very nature of the Secret Service’s role in protecting the Vice President and

his family implicates sensitive information related to that agency’s ability to protect high-ranking

members of the Executive branch and, by extension, national security. Thus, the government seeks

an order limiting the cross-examination of the Secret Service witnesses to questioning about the

federally protected function performed by the Secret Service as testified to on direct exam, in this

case protecting the Vice President and his family. The government further requests that such order

preclude cross-examination that would elicit information that is not directly related to whether the

Secret Service was performing that function at the Capitol on January 6, 2021. The defendant

should be specifically foreclosed from questioning the witnesses about the following:

       1. Information related to the location within the Capitol or its grounds to which the Vice

             President and his family, or their motorcade, were taken once the riot began on January

             6, 2021;

       2. Secret Service protocols related to the locations where protectees or their motorcades

             are taken at the Capitol or other government buildings when emergencies occur;

       3. Details about the nature of Secret Service protective details, such as the number and

             type of agents the Secret Service assigns to protectees.

                                           ARGUMENT

       I.       This Court Has the Discretion to Limit Cross-Examination of Witnesses at
                Trial

       It is well-established that a district court has the discretion to limit cross examination. See

Alford v. United States, 282 U.S. 687 (1931)(“The extent of cross-examination [of a witness] with



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respect to an appropriate subject of inquiry is within the sound discretion of the trial court.”). A

court has the discretion to prohibit cross-examination that goes beyond matters testified to on direct

examination. Fed. R. Evid. 611(b). This is particularly so when the information at issue is of a

sensitive nature. See e.g., United States v. Balistreri, 779 F.2d 1191, 1216-17 (7th Cir. 1985)

(upholding district court’s decision to prohibit cross-examination of agent about sensitive

information about which that agent did not testify on direct examination and which did not pertain

to the charges in the case), overruled on other grounds by Fowler v. Butts, 829 F.3d 788 (7th Cir.

2016). Other permissible reasons for limiting cross-examination include preventing harassment,

prejudice, confusion of the issues, or repetitive, cumulative, or marginally relevant questioning.

Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

       While limiting a defendant’s opportunity for cross-examination may implicate the

constitutional right to confront witnesses, the Confrontation Clause only guarantees “an

opportunity for effective cross-examination, not cross-examination that is effective in whatever

way, and to whatever extent, the defense might wish.” Delaware v. Fensterer, 474 U.S. 15, 20

(1985). Even evidence that may be relevant to an affirmative defense should be excluded until the

defendant sufficiently establishes that defense through affirmative evidence presented during his

own case-in-chief. See United States v. Lin, 101 F.3d 760, 768 (D.C. Cir. 1996) (acknowledging

trial court has discretion to limit cross-examination on prejudicial matters without reasonable

grounding in fact); United States v. Sampol, 636 F.2d 621, 663-64 (D.C. Cir. 1980) (holding that

trial court properly limited cross-examination of alleged CIA murder scheme until defense put

forth sufficient evidence of the affirmative defense in its case-in-chief); United States v. Stamp,

458 F.2d 759, 773 (D.C. Cir. 1971) (finding trial court properly excluded cross examination of

government’s witness with response to matter only related to an affirmative defense and not

elicited through direct exam). Preventing the defendant from exploring the topics identified above


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will not infringe his Confrontation Clause right because those topics are not relevant to an element

at issue in the case, provide no basis for impeaching the Secret Service witness, and do not

implicate any affirmative defense.

          II.    Cross-Examination of Secret Service Witnesses Should Be Limited to
                 Whether the Capitol Breach Interfered with a Federally Protected Function
                 and Whether the Capitol was Restricted on January 6, 2021

          To prove Counts Two, Four, and Six, the government intends to offer limited testimony

about the Secret Service’s protection of certain officials on January 6, 2021. First, to establish a

violation of 18 U.S.C. § 231(c)(3), the government must prove, among other things, that a civil

disorder interfered with a federally protected function. 18 U.S.C. § 231(c)(3); United States v. Red

Feather, 392 F. Supp. 916, 918-19 (D. S.D. 1975). A “federally protected function” includes any

lawful function, operation, or action by a federal agency or officer. 18 U.S.C. § 232(3). Thus, the

government must prove that the January 6 breach interfered with a federal agency or federal

officer’s performance of lawful duties. To meet this element, the government intends to offer the

testimony that pursuant to authority under 18 U.S.C. § 3056(a)(1), on January 6, 2021, Secret

Service agents were at the Capitol to protect Vice President Mike Pence and two members of his

immediate family. A Secret Service official is further expected to explain how the events at the

Capitol on that date affected the Secret Service’s ability to protect Vice President Pence and his

family.

          Likewise, as it relates to Counts Eight through Ten, similar testimony will be offered to

establish that the Capitol and its grounds were “restricted,” for purposes of § 1752(a) because the

Vice President and his family were present there and being protected by the Secret Service. 1 See

18 U.S.C. § 1752(c)(1)(B) (defining restricted buildings and grounds).


1
 The Secret Service is authorized to protect the Vice President and his immediate family. 18
U.S.C. §§ 3056(1) and (2).

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          Cross-examination of Secret Service witnesses about extraneous matters beyond the scope

of direct examination should be excluded as irrelevant or unduly prejudicial. The fact that the Vice

President, his family, and their motorcade had to be moved for safety is relevant to whether the

civil disorder adversely affected the Secret Service’s ability to protect those individuals. But the

location to which they were moved, or the Secret Service’s general protocols about relocation for

safety, should be excluded as irrelevant because such evidence does not tend to make a fact of

consequence more or less probable. Fed. R. Evid. 401 (defining relevant evidence). Similarly,

evidence of the nature of Secret Service protective details is not relevant in this case. The number

or type of assigned agents on a protective detail does not alter the probability that the disorder

interfered with the Secret Service’s duties to protectees in this case, or that the Capitol and its

grounds were restricted at the time. None of the other elements to be proven, or available defenses,

implicates further testimony from the Secret Service.

          Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger of confusion of the issues, mini-trials, undue delay, and

waste of time. See United States v. Mohammed, 410 F. Supp. 2d 913, 918 (S.D. Cal. 2005) (finding

that information having broader national security concerns can be excluded under Rule 403

because its tendency to confuse the issues, mislead the jury, create side issues or a mini-trial can

result in undue prejudice that substantially outweighs any probative value). Broader cross-

examination of Secret Service witnesses could compromise national security without adding any

appreciable benefit to the determination of the truth, or the veracity or bias of witnesses. Id.

   III.      The Government Requests an In Camera Proceeding to Determine the
             Admissibility of Certain Evidence

          If this court determines that a hearing is necessary to determine the admissibility of

testimony by a witness from the Secret Service, the government requests the hearing be conducted



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in camera and ex parte. As noted, in this case, disclosure of certain information could prove

detrimental to the Secret Service’s ability to protect high-level government officials and affect our

national security. Courts have found such considerations justify ex parte, in camera proceedings.

See Gilmore v. Palestinian Interim Self-Gov’t Auth., 843 F.3d 958, 968 (D.C. Cir. 2016) (finding

that while ex parte proceedings should be employed to resolve discovery disputes only in

extraordinary circumstances, they are appropriate where disclosure could lead to substantial

adverse consequences, such as where a party sought intelligence materials generated in the midst

of a geopolitical conflict); United States v. Nixon, 418 U.S. 683, 714 (1974) (affirming district

court’s order for in camera inspection of subpoenaed presidential materials); United States v.

Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979) (“It is settled that in camera ex parte proceedings

to evaluate bona fide Government claims regarding national security information are proper.”); In

re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977) (finding that in camera proceedings “serve to

resolve, without disclosure, the conflict between the threatened deprivation of a party’s

constitutional rights and the Government’s claim of privilege based on the needs of public

security.”); United States v. Brown, 539 F.2d 467, 470 (5th Cir. 1976) (per curiam) (same).




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                                        CONCLUSION

       For these reasons, the United States requests that this court enter an order, as described

above, limiting cross-examination of any witness with the Secret Service. If this court determines

an evidentiary hearing is necessary to rule on this motion, the government asks that the hearing be

held in camera and ex parte.

       Dated November 8, 2021.


                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney

                                      By:    /s/ Michael J. Romano
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